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STATE OF NEW YORK
" OFFICE OF THE ATTORNEY GENERAL
" _ ERIC T. SCHNEIDERMAN DIVISION OF STATE COUNSEL
c ATTORNEY GENERAL , LITIGATION BUREAU
a Writers Direct Dial: (212) 416-6046 +i tating | K ranted...
a December 6, 2017 The application 8... gran"
: BY FACSIMILE Cte “\
i Honorable Nelson S. Roman ‘Nelson S. Roman, U.S.D: J.

  
  
  
 
 

iy, | United States District-Iudge
Southern District of New York
300 Quarropas St.

White Plains, NY 10601-4150

Re:  Arminio v. Holder, 15-cv-5812. (NSR)(PED)

‘Dated: bec. 8, %ol7
‘White Plains, New. York 1060.

       

Dear Judge Roman:

This Office represents New York State Trooper Lysonia Holder, the sole defendant in
the above-referenced case. [ write with Plaintiff's consent to respectfully request an extension
to the Parties’ summary judgment motion schedule as follows:

 

 

Defendant’s Motion for Summary Judgment due January 19, 2018:
Plaintiff's Opposition due March 2, 2018: and
ye Defendant’s Reply due March Ye 2018.!

: The grounds for this request are that undersigned counsel requires additional time to
: complete the motion while also responding to impending deadlines in several other cases,
including depositions that requirc travel throughout the state, as far northwest as the Canadian
border, and a multi-day arbitration, This is the first such request for an extension to the motion

 osrnpn Schedule, Plaintiff’ s.counsel consented to the request.

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3 | DOC #: | Colleen K. Faherty
Me, ! DATE FILED: (2 8 ho 7 | Assistant Attorney Gencral

{
ce: Jamaes Lenihan, Counsel via USPS °

 

 

’ The current motion schedule is as follows:
Defendant's Motion for Summary Judgment due December 20, 2017; Plainufi’s Opposition due January 31, 20138:
and Defendant's Reply due February J3, 2018. See ECF minute entry dated Nov. $, 2017.

120 Broadway, New York, New York 10271-0932 © Tel: (21 2) 416-8610 © Five: (212) 416-6075 ¢Not For Servics of Papers}
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CERTIFICATE OF SERVICE

 

COLLEEN K. FAHERTY, an attorney admitted to practice in the courts of the State of
New York, certifies as follows:

I am an attorney licensed to practice in the State of New York, and am an Assistant
Attorney General in the office of Eric T. Schneiderman, Attorney General of the State of New
York. I am over 18 years of age and not a party to this action.

On December 6, 2017, I served copies of the following papers:

1. Letter Request Seeking an Extension to the Parties Motion Schedule for Summary
Judgment

on the following person(s) at the following address he provided to the Court that is currently

 

reflected in the docket:

 

Jamies Lenihan
Bi Lenihan & Associates, LLC
oF. 235 Main Street

u White Plains, New York 10601

 

by depositing copies of the papers enclosed in properly addressed wrappers with proper postage

affixed into the custody of the U.S Mail.

 

I declare under penalty of perjury that the foregoing is true and correct,

 

Dated: December 6, 2017
New York, New York

: fst
Colleen K. Faherty, Assistant Attorney General

 

TOTAL P.@3

 
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wo STATE OF NEW YORK
ve OFFICE OF THE ATTORNEY GENERAL

ERIC T. SCHNEIDERMAN

FACSIMILE TRANSMISSION

DATE December 6, 2017 NUMBER OF PAGES 3
(INCLUDING THIS PAGE)

 

 

To Judge Nelson S. Roman

 

FAX NO. 944 } 990-4179 ‘

 

 

FROM Colleen K. Faherty, AAG

 

. REMARKS

Please see the attached letter, requesting an extension of time for the Parties to submit the
motion for summary judgment in the matter of Arminio v. Holder, 15-cv-5812. ‘

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48 Thank you for your consideration.

Kind regards, ‘
AAG Calleen K. Faherty

 

 

 

 

 

 

 

 

 

IF THERE IS A PROBLEM WITH THIS TRANSMISSION, PLEASE CONTACT
name Colleen K. Faherty, AAG orFice Litigation, NYC -- Room 24A47
4 TELEPHONE NO.(212) 416-6046 “___FAX NO. 212 )_ 416-6009 / 6075
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